Case 2:19-cv-04618-RGK-JPR Document 45-5 Filed 05/11/20 Page 1 of 36 Page ID
                                 #:4112




                        EXHIBIT 3

                                                                    Ex. 3
                                                                 Page 142
Case 2:19-cv-04618-RGK-JPR Document 45-5 Filed 05/11/20 Page 2 of 36 Page ID
                                   #:4113
             Case: 19-3388 Document: 25 Filed: 09/05/2019 Page: 1


                                         No. 19-3388

                                            In the
        United States Court of Appeals
                               for the Sixth Circuit


                            THE OHIO STATE UNIVERSITY,
                                                                               Plaintiff-Appellant,
                                                 v.

                                     REDBUBBLE, INC.,
                                                                              Defendant-Appellee.

                           _______________________________________
                             Appeal from the United States District Court
                  for the Southern District of Ohio at Columbus, No. 2:17-cv-01092.
                        The Honorable Algenon L. Marbley, Judge Presiding.


                         BRIEF OF AMICUS CURIAE
                INTERNATIONAL TRADEMARK ASSOCIATION
                     IN SUPPORT OF NEITHER PARTY


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                                                                                             Ex. 3
                                                                                          Page 143
Case 2:19-cv-04618-RGK-JPR Document 45-5 Filed 05/11/20 Page 3 of 36 Page ID
                                 #:4114
               Case: 19-3388    Document: 25    Filed: 09/05/2019   Page: 2




                   CORPORATE DISCLOSURE STATEMENT

        Pursuant to Federal Rule of Appellate Procedure 26.1, amicus curiae

  International Trademark Association (“INTA”) states that it is not a publicly-held

  corporation or other publicly-held entity. INTA does not have any parent

  corporation and no publicly-held corporation or other publicly-held entity holds

  10% or more of INTA’s stock.




                                           i


                                                                                 Ex. 3
                                                                              Page 144
Case 2:19-cv-04618-RGK-JPR Document 45-5 Filed 05/11/20 Page 4 of 36 Page ID
                                 #:4115
                     Case: 19-3388            Document: 25            Filed: 09/05/2019             Page: 3




                                           TABLE OF CONTENTS

  CORPORATE DISCLOSURE STATEMENT ......................................................... i

  TABLE OF AUTHORITIES ................................................................................... iii

  STATEMENT OF INTEREST OF AMICUS CURIAE.............................................1

  ARGUMENT .............................................................................................................7

  I.       The district court erred as a matter of law by failing to
           acknowledge that “use in commerce,” pursuant to Section 32(1) of
           the Lanham Act, includes more than the mere act of selling goods. ........7

           A.       The sale of allegedly infringing goods is not a prerequisite to
                    establishing “use in commerce” pursuant to Section 32(1). ............7

           B.       Other courts have held that activities beyond the sale of
                    allegedly infringing goods are sufficient to establish “use in
                    commerce.” ........................................................................................10

           C.       The district court’s analysis of whether Redbubble “used in
                    commerce” the Ohio State Trademarks was erroneously
                    restrictive. ...........................................................................................13

  II.      The district court erred as a matter of law by granting summary
           judgment on an incomplete factual record. ..............................................16

           A.       The factual record was incomplete as it lacked sufficient
                    detail material to the district court’s determination of
                    whether Redbubble acted as a “seller.” ..........................................17

           B.       The factual record was incomplete as it lacked sufficient
                    detail on the degree to which Redbubble advertises or
                    encourages advertising of the allegedly infringing products. .......24

  CONCLUSION ........................................................................................................26

  CERTIFICATE OF COMPLIANCE ....................................................................... 28

  CERTIFICATE OF SERVICE ................................................................................ 29




                                                                                                                       Ex. 3
                                                                                                                    Page 145
Case 2:19-cv-04618-RGK-JPR Document 45-5 Filed 05/11/20 Page 5 of 36 Page ID
                                 #:4116
                     Case: 19-3388           Document: 25           Filed: 09/05/2019           Page: 4



                                          TABLE OF AUTHORITIES

  Cases

  Affliction Holdings, LLC v. Utah VAP or Smoke, LLC,
  No. 18-4146, 2019 WL 4019914 (10th Cir. 2019) ....................................................5

  Am. Broadcasting Cos., Inc. v. Aereo, Inc.,
  573 U.S. 431 (2014) .................................................................................................16

  Anderson v. Liberty Lobby, Inc.,
  477 U.S. 242 (1986) .................................................................................................20

  Born to Rock Design Inc. v. CafePress.com, Inc.,
  No. 10-CV-8588, 2012 WL 3954518 (S.D.N.Y. Sept. 7, 2012) .........................8, 20

  Children’s Miracle Network v. Miracles for Kids, Inc.,
  No. 8:18-CV-01227, 2018 WL 8243998 (C.D. Cal. Dec. 6, 2018).........................25

  GMA Accessories, Inc. v. BOP, LLC,
  765 F. Supp. 2d 457 (S.D.N.Y. 2011) ........................................................ 12, 24, 27

  H-D U.S.A., LLC v. SunFrog, LLC,
  311 F. Supp. 3d 1000 (E.D. Wis. Apr. 12, 2018) ............................................. 21, 27

  In re Sones,
  590 F.3d 1282 (Fed. Cir. 2009)................................................................................12

  Ins. Co. of N. Am. v. Nw. Nat. Ins. Co.,
  494 F.2d 1192 (6th Cir. 1974) .............................................................................6, 18

  Kennedy v. Silas Mason Co.,
  334 U.S. 249 (1948) .................................................................................................18

  Lorillard Tobacco Co. v. Amouri’s Grand Foods, Inc.,
  453 F.3d 377 (6th Cir. 2006) ........................................................................ 8, 13, 19

  Lyons v. The Bilco Co.,
  No. 3:01-CV-1106, 2003 WL 22682333 (D. Conn. Sept. 30, 2003) ......................18




                                                                                                                  Ex. 3
                                                                                                               Page 146
Case 2:19-cv-04618-RGK-JPR Document 45-5 Filed 05/11/20 Page 6 of 36 Page ID
                                 #:4117
                    Case: 19-3388          Document: 25           Filed: 09/05/2019          Page: 5




  Milo & Gaby LLC v. Amazon.com, Inc.,
  693 Fed. App’x 879 (Fed. Cir. 2017) ......................................................................22

  N. Amer. Med. Corp. v. Axiom Worldwide, Inc.,
  522 F.3d 1211 (11th Cir. 2008) ...............................................................................11

  Network Automation, Inc. v. Adv. Sys. Concepts, Inc.,
  638 F.3d 1137 (9th Cir. 2011) .................................................................... 10, 12, 14

  Nola Spice Designs, LLC v. Haydel Enters., Inc.,
  783 F.3d 527 (5th Cir. 2015) .....................................................................................5

  Ohio State Univ. v. Redbubble,
  No. 2:17-CV-01092 (S.D. Ohio Mar. 29, 2019) ............................................... 14, 29

  Ohio State Univ. v. Skreened Ltd.,
  16 F. Supp. 3d 905 (S.D. Ohio 2014) ........................................................................7

  Propps v. 9008 Grp., Inc.,
  No. 03-71166, 2006 WL 2124242 (E.D. Mich. July 27, 2006) ...............................18

  Reed v. General Mills, Inc.,
  No. C19-0005-JCC, 2019 WL 2475706 (W.D. Wash. June 13, 2019) ...................25

  Rescuecom Corp. v. Google Inc.,
  562 F.3d 123 (2d Cir. 2009)........................................................................ 10, 12, 16

  Sazerac Brands, LLC v. Peristyle. LLC,
  892 F.3d 853 (6th Cir. 2018) .....................................................................................5

  Sorensen v. WD-40 Co.,
  792 F.3d 712 (7th Cir. 2015) .....................................................................................5

  Taubman Co. v. Webfeats,
  319 F.3d 770 (6th Cir. 2003) .....................................................................................7

  Transamerica Corp. v. Moniker Online Servs., LLC,
  672 F. Supp. 2d 1353 (S.D. Fla. 2009) ....................................................................11




                                                                                                              Ex. 3
                                                                                                           Page 147
Case 2:19-cv-04618-RGK-JPR Document 45-5 Filed 05/11/20 Page 7 of 36 Page ID
                                 #:4118
                     Case: 19-3388            Document: 25            Filed: 09/05/2019            Page: 6




  Variety Stores, Inc. v. Wal-Mart Stores, Inc.,
  888 F.3d 651 (4th Cir. 2018) .....................................................................................5

  Wiley v. U.S.,
  20 F.3d 222 (6th Cir. 1994) .....................................................................................20

  WNET, Thirteen v. Aereo,
  712 F.3d 676 (2d Cir. 2013).....................................................................................16


  Statutes

  15 U.S.C. § 1114(1) (2005) ........................................................................ 4, 7, 9, 17

  15 U.S.C. § 1127 (2006) ..........................................................................................10


  Other Authorities

  EBAY, Registration No. 4,408,423 .........................................................................25

  REDBUBBLE, INC. (Aug. 31, 2019), https://www.redbubble.com ............................15

  REDBUBBLE, Registration No. 3,910, 313 ...........................................................25

  REDBUBBLE, Registration No. 4,782,482 ............................................................24

  REDBUBBLE, Registration No. 5,766,498 ............................................................25


  Rules

  Fed. R. App. P. 29 ......................................................................................................1

  Fed. R. Civ. P. 16 .......................................................................................................6

  Fed. R. Civ. P. 56 .....................................................................................................17

  Fed. R. Evid. 201 .....................................................................................................25




                                                                                                                     Ex. 3
                                                                                                                  Page 148
Case 2:19-cv-04618-RGK-JPR Document 45-5 Filed 05/11/20 Page 8 of 36 Page ID
                                   #:4119
              Case: 19-3388 Document: 25 Filed: 09/05/2019 Page: 7



             STATEMENT OF INTEREST OF AMICUS CURIAE1

       Founded in 1878, INTA is a not-for-profit organization dedicated to the

 support and advancement of trademarks and related intellectual property concepts

 as essential elements of trade and commerce. INTA has more than 7,200 member

 organizations from 191 countries. Its members include trademark and brand

 owners, law firms, and other professionals who regularly assist brand owners in the

 creation, registration, protection, and enforcement of their trademarks. All of

 INTA’s members share the goal of promoting an understanding of the essential

 role that trademarks play in fostering informed decisions by consumers, effective

 commerce, and fair competition.

       INTA’s members are frequent participants in litigations brought under the

 Lanham Act, as both plaintiffs and defendants and, therefore, are interested in the

 development of clear, consistent, and equitable principles of trademark,

 advertising, and unfair competition law. INTA has substantial expertise and has



 1
     Pursuant to Rule 29(a)(2) of the Federal Rules of Appellate Procedure, amicus
     curiae certifies that all parties have consented to the filing of this brief.
     Additionally, in accordance with Rule 29(a)(4)(E) of the Federal Rules of
     Appellate Procedure, amicus curiae states that this brief was authored solely by
     INTA and its counsel, and no part of this brief was authored by counsel to a
     party. No party or counsel for a party made a monetary contribution intended
     to fund the preparation or submission of this brief. No person other than
     amicus curiae, its members, and its counsel made such a monetary contribution
     to its preparation or submission.

                                           1


                                                                                 Ex. 3
                                                                              Page 149
Case 2:19-cv-04618-RGK-JPR Document 45-5 Filed 05/11/20 Page 9 of 36 Page ID
                                 #:4120
                Case: 19-3388    Document: 25     Filed: 09/05/2019   Page: 8



  participated as amicus curiae in numerous cases involving significant Lanham Act

  issues.2


  2
      Cases in which INTA has filed amicus briefs include: Iancu v. Brunetti, 588
      U.S. , 139 S. Ct. 2294 (2019); Mission Prod. Holdings, Inc. v. Tempnology,
      LCC, 587 U.S. , 139 S. Ct. 1652 (2019); Fourth Estate Pub. Benefit Corp. v.
      Wall-Street.com, LLC, 586 U.S. , 139 S. Ct. 881 (2019); Matal v. Tam, 582
      U.S. , 137 S. Ct. 1744 (2017); Hana Fin., Inc. v. Hana Bank, 574 U.S. 418
      (2015); B&B Hardware, Inc. v. Hargis Indus., Inc., 575 U.S. , 135 S. Ct.
      1293 (2015); Pom Wonderful LLC v. Coca-Cola Co., 573 U.S. 102 (2014);
      Already, LLC v. Nike, Inc., 568 U.S. 85 (2013); KP Permanent Makeup, Inc. v.
      Lasting Impression I, Inc., 543 U.S. 111 (2004); Dastar Corp. v. Twentieth
      Century Fox Film Corp., 539 U.S. 23 (2003); Moseley v. V. Secret Catalogue,
      Inc., 537 U.S. 418 (2003); TrafFix Devices, Inc. v. Mktg. Displays, Inc., 532
      U.S. 23 (2001); Wal-Mart Stores, Inc. v. Samara Bros., 529 U.S. 205 (2000);
      Fla. Prepaid Postsecondary Educ. Expense Bd. v. College Sav. Bank, 527 U.S.
      627 (1999); Dickinson v. Zurko, 527 U.S. 150 (1999); Qualitex Co. v. Jacobson
      Prods. Co., 514 U.S. 159 (1995); Two Pesos, Inc. v. Taco Cabana, Inc., 505
      U.S. 763 (1992); K Mart Corp. v. Cartier, Inc., 486 U.S. 281 (1988); Christian
      Louboutin S.A. v. Yves Saint Laurent Am., 696 F.3d 206 (2d Cir. 2012); Rosetta
      Stone Ltd. v. Google, Inc., 676 F.3d 144 (4th Cir. 2012); Fleischer Studios, Inc.
      v. A.V.E.L.A., Inc., 654 F.3d 958 (9th Cir. 2011); Levi Strauss & Co. v.
      Abercrombie & Fitch Trading Co., 633 F.3d 1158 (9th Cir. 2011); Chloe v.
      Queen Bee of Beverly Hills, LLC, 616 F.3d 158 (2d Cir. 2010); Starbucks Corp.
      v. Wolfe’s Borough Coffee, Inc., 588 F.3d 97 (2d Cir. 2009); ITC Ltd v.
      Punchgini, Inc., 482 F.3d 135 (2d Cir. 2007), certified questions accepted, 870
      N.E.2d 151 (N.Y. 2007), cert. denied, 552 U.S. 827 (2007), certified questions
      answered, 880 N.E.2d 852 (N.Y. 2007), later proceedings, 518 F.3d 159 (2d
      Cir. 2008); Louis Vuitton Malletier S.A. v. Haute Diggity Dog, LLC, 507 F.3d
      252 (4th Cir. 2007); Test Masters Educ. Servs. v. Singh, 428 F.3d 559 (5th Cir.
      2005); WarnerVision Entm’t Inc. v. Empire of Carolina, Inc., 101 F.3d 259 (2d
      Cir. 1996); Preferred Risk Mut. Ins. Co. v. United States, 86 F.3d 789 (8th Cir.
      1996); Conopco, Inc. v. May Dep’t Stores Co., 46 F.3d 1556 (Fed. Cir. 1994);
      Ralston Purina Co. v. On-Cor Frozen Foods, Inc., 746 F.2d 801 (Fed. Cir.
      1984); Anti-Monopoly, Inc. v. Gen. Mills Fun Grp., Inc., 684 F.2d 1316 (9th
      Cir. 1982), cert. denied, 459 U.S. 1227 (1983); In re Borden, Inc., 92 F.T.C.
      669 (1978), aff’d sub nom. Borden, Inc. v. Fed. Trade Comm’n, 674 F.2d 498
      (6th Cir. 1982), vacated and remanded, 461 U.S. 940 (1983); Redd v. Shell Oil


                                         2


                                                                                   Ex. 3
                                                                                Page 150
Case 2:19-cv-04618-RGK-JPR Document 45-5 Filed 05/11/20 Page 10 of 36 Page ID
                                 #:4121
                Case: 19-3388    Document: 25     Filed: 09/05/2019   Page: 9



        INTA (formerly known as the United States Trademark Association) was

  founded in part to encourage the enactment of federal trademark legislation after

  the invalidation on constitutional grounds of the United States’ first trademark act.

  Since then, INTA has been instrumental in making recommendations and

  providing assistance to legislators in connection with almost all major federal

  trademark and advertising legislation including the Lanham Act, which is at issue

  in this appeal.

        INTA and its members have a particular interest in this case because the

  district court’s analysis of the conduct that can constitute direct trademark

  infringement is inconsistent with the Lanham Act and existing case law. The

  district court held that Redbubble, Inc. (“Redbubble”) – which displays designs by

  independent artists, arranges for manufacture and shipping of a myriad of products

  featuring those designs, processes payment for sale of such products, and handles

  returns and other post-sale issues – was not technically a “seller” and therefore

  could not, as a matter of law, be liable for direct infringement even if the products

  sold through the Redbubble website bore counterfeits of others’ trademark rights.

  The trademarks at issue in this case are those of The Ohio State University (“Ohio



     Co., 524 F.2d 1054 (10th Cir. 1975), cert. denied, 425 U.S. 912 (1976); Century
     21 Real Estate Corp. v. Nev. Real Estate Advisory Comm’n, 448 F. Supp. 1237
     (D. Nev. 1978), aff’d, 440 U.S. 941 (1979); Penguin Grp. (USA) Inc., v. Am.
     Buddha, 16 N.Y.3d 295 (2011).



                                         3


                                                                                     Ex. 3
                                                                                  Page 151
Case 2:19-cv-04618-RGK-JPR Document 45-5 Filed 05/11/20 Page 11 of 36 Page ID
                                 #:4122
               Case: 19-3388     Document: 25     Filed: 09/05/2019   Page: 10



  State”), including “BUCKEYES,” “OHIO STATE,” “OHIO STATE

  UNIVERSITY,” and “URBAN MEYER” (the “Ohio State Trademarks”), but

  INTA’s interest is in the protection of all trademarks in order to ensure that

  consumers are not deceived as to the source or sponsorship of products sold,

  whether through brick-and-mortar or online retailers.

        In concluding as a matter of law that Redbubble could not be liable for direct

  infringement, the district court considered and interpreted the Lanham Act’s

  regulation of marks “used in commerce.” See 15 U.S.C. § 1114(1) (2005). INTA

  has an interest in ensuring that courts conduct a fulsome analysis of the activities

  that might constitute “use in commerce,” that goes beyond consideration of only

  whether a defendant acted as a “seller.” Actions other than the sale of a branded

  product can constitute “use in commerce” and can therefore give rise to liability for

  direct infringement of the mark. Although it is not clear from the limited record

  developed below whether Redbubble did “use” the Ohio State Trademarks “in

  commerce” and whether it may be liable for direct infringement, INTA has a

  strong interest in participating as amicus curiae in this case so that it may urge the

  Court, in considering the decision below, to address broadly what it means to “use”

  a mark “in commerce” and to identify the contours of a claim of direct trademark

  infringement.




                                         4


                                                                                      Ex. 3
                                                                                   Page 152
Case 2:19-cv-04618-RGK-JPR Document 45-5 Filed 05/11/20 Page 12 of 36 Page ID
                                 #:4123
               Case: 19-3388    Document: 25     Filed: 09/05/2019    Page: 11



        INTA has another interest in this case. INTA has noted in recent years an

  increasing number of cases in which district courts have granted summary

  judgment in trademark cases where there were disputed facts, which has resulted in

  reversals on appeal. E.g., Affliction Holdings, LLC v. Utah VAP or Smoke, LLC,

  No. 18-4146, 2019 WL 4019914 (10th Cir. 2019); Variety Stores, Inc. v. Wal-Mart

  Stores, Inc., 888 F.3d 651 (4th Cir. 2018); Rosetta Stone, Ltd. v. Google, Inc., 676

  F.3d 144 (4th Cir. 2012). INTA supports summary judgment as a way to

  efficiently dispose of trademark cases and conserve the resources of the judiciary

  and litigants. E.g., Sazerac Brands, LLC v. Peristyle. LLC, 892 F.3d 853 (6th Cir.

  2018); Sorensen v. WD-40 Co., 792 F.3d 712 (7th Cir. 2015); Nola Spice Designs,

  LLC v. Haydel Enters., Inc., 783 F.3d 527 (5th Cir. 2015). However, summary

  judgment is appropriate only if there are no disputed issues of fact and if the record

  includes the necessary material facts for the court to reach a decision. District

  courts should not grant summary judgment where the court does not have the

  necessary material facts or where there remain seriously disputed facts on such

  issues as the assessment of trademark validity, trademark priority, use in

  commerce, and whether confusion is likely, even if both parties seek summary

  judgment through cross motions.3


  3
      If all parties in a litigation want to obtain a ruling from a court on a paper
      record, there is nothing stopping them from stipulating to a factual record or
      stipulating to allow the court to resolve factual disputes on a written record


                                         5


                                                                                    Ex. 3
                                                                                 Page 153
Case 2:19-cv-04618-RGK-JPR Document 45-5 Filed 05/11/20 Page 13 of 36 Page ID
                                 #:4124
               Case: 19-3388     Document: 25    Filed: 09/05/2019   Page: 12



         Here, the parties did not submit sufficient evidence on key facts.

   Specifically, the underlying factual record remains uncertain as to Redbubble’s

   exact role with respect to the products sold through its website and whether

   Redbubble’s role might give rise to a finding that Redbubble did “use” the Ohio

   State Trademarks “in commerce” in connection with the sale of those products. In

   these circumstances summary judgment was inappropriate because the factual

   record was too sparse.




      without trial. Fed. R. Civ. P. 16(c)(2)(C); see also Ins. Co. of N. Am. v. Nw.
      Nat. Ins. Co., 494 F.2d 1192, 1195-96 (6th Cir. 1974). That is not what the
      parties did in this case.



                                         6


                                                                                     Ex. 3
                                                                                  Page 154
Case 2:19-cv-04618-RGK-JPR Document 45-5 Filed 05/11/20 Page 14 of 36 Page ID
                                 #:4125
                Case: 19-3388     Document: 25     Filed: 09/05/2019    Page: 13



                                       ARGUMENT


   I.    The district court erred as a matter of law by failing to acknowledge
         that “use in commerce,” pursuant to Section 32(1) of the Lanham Act,
         includes more than the mere act of selling goods.

         A.     The sale of allegedly infringing goods is not a prerequisite to
                establishing “use in commerce” pursuant to Section 32(1).
         A plaintiff asserting claims of direct liability for trademark infringement

   under the Lanham Act must establish that the “[d]efendant used the [allegedly

   infringing] trademark ‘in commerce’ and without [p]laintiff’s authorization.” Ohio

   State Univ. v. Skreened Ltd., 16 F. Supp. 3d 905, 910-11 (S.D. Ohio 2014) (citing

   15 U.S.C. § 1114(1)(a)); see also Taubman Co. v. Webfeats, 319 F.3d 770, 776

   (6th Cir. 2003) (in a dispute involving the <shopsatwillowbend.com> and

   <shopwillowbend.com> domain names, the court analyzed whether the defendant

   engaged in commercial use of the domain names and used the domain names “in

   connection with the sale or advertising of any goods or services”) (internal citation

   omitted). One type of conduct that constitutes “use in commerce” and that can,

   therefore, support claims of direct infringement is the sale of allegedly infringing

   goods. See, e.g., Lorillard Tobacco Co. v. Amouri’s Grand Foods, Inc., 453 F.3d

   377 (6th Cir. 2006) (noting that sellers bear strict liability for trademark

   infringement and finding that a seller of counterfeit cigarettes was liable even

   though it did not produce the counterfeit product); Born to Rock Design Inc. v.

   CafePress.com, Inc., No. 10-CV-8588, 2012 WL 3954518 (S.D.N.Y. Sept. 7,


                                           7


                                                                                      Ex. 3
                                                                                   Page 155
Case 2:19-cv-04618-RGK-JPR Document 45-5 Filed 05/11/20 Page 15 of 36 Page ID
                                 #:4126
                Case: 19-3388    Document: 25      Filed: 09/05/2019   Page: 14



   2012) (denying defendant’s motion for summary judgment and holding that

   defendant, a print-on-demand business, was directly liable for infringement

   because it produced and sold products bearing the “Born to Rock” trademark). As

   Professor Thomas McCarthy has explained,


                A dealer who does not make the goods bearing the
                infringing mark, but merely sells them, is liable as an
                infringer. Thus, even an innocent dealer who sells goods
                bearing the infringing mark is liable for trademark
                infringement and may even be required to account for his
                profits. It is no defense that a distributor did not actually
                affix the infringing mark to the goods, since actual sale of
                goods with an infringing mark is itself infringement.

   J. Thomas McCarthy, MCCARTHY ON TRADEMARKS AND UNFAIR COMPETITION

   §25:27 (5th ed. 2019) [hereinafter McCarthy].


         The Lanham Act, however, also provides for direct liability based on other

   activities as well. In particular, Section 32(1) of the Lanham Act provides that:


                any person who shall, without the consent of the
                registrant –

                (a) use in commerce any reproduction, counterfeit, copy,
                or colorable imitation of a registered mark in connection
                with the sale, offering for sale, distribution, or
                advertising of any goods or services on or in connection
                with which such use is likely to cause confusion, or to
                cause mistake or to deceive; or

                (b) reproduce, counterfeit, copy, or colorably imitate a
                registered mark and apply such reproduction,
                counterfeit, copy, or colorable imitation to labels, signs,



                                          8


                                                                                     Ex. 3
                                                                                  Page 156
Case 2:19-cv-04618-RGK-JPR Document 45-5 Filed 05/11/20 Page 16 of 36 Page ID
                                 #:4127
               Case: 19-3388     Document: 25        Filed: 09/05/2019   Page: 15




               prints, packages, wrappers, receptacles, or
               advertisements intended to be used in commerce upon
               or in connection with the sale, offering for sale,
               distribution, or advertising of goods or services on or in
               connection with which such use is likely to cause
               confusion, or to cause mistake, or to deceive,

               shall be liable in a civil action….

  15 U.S.C. § 1114 (1)(a)-(b) (emphasis added). The plain language of the statute

  provides that users other than “sellers” can be directly liable for infringement. For

  example, liability also can be found against those who, inter alia, distribute or

  advertise goods bearing an infringing mark. Furthermore, the Act specifically

  provides for liability against those who apply an allegedly infringing mark to

  “labels, signs, prints, packages, wrappers, receptacles or advertisements intended

  to be used in commerce.” Id. This statutory language directly conflicts with the

  district court’s holding that a party must “sell” allegedly infringing goods in

  commerce in order to be held directly liable for trademark infringement.


        It is true that Section 45 of the Lanham Act has a somewhat more restrictive

  definition of “use in commerce.” Section 45 defines “use in commerce” as being

  when a mark,


               is placed in any manner on the goods or their containers
               or the displays associated therewith or on the tags or
               labels affixed thereto . . . and the goods are sold or
               transported in commerce.




                                         9


                                                                                       Ex. 3
                                                                                    Page 157
Case 2:19-cv-04618-RGK-JPR Document 45-5 Filed 05/11/20 Page 17 of 36 Page ID
                                 #:4128
                Case: 19-3388     Document: 25      Filed: 09/05/2019    Page: 16



   15 U.S.C. § 1127 (2006). But that definition applies only to the kind of use that is

   sufficient to justify registration of a mark; it does not limit the kind of use that can

   give rise to claims for direct infringement under Section 32(1). See generally,

   Rescuecom Corp. v. Google Inc., 562 F.3d 123, 138-39 (2d Cir. 2009) (dictum

   appendix analyzing the meaning of the phrase “use in commerce” and concluding

   that Section 45 applies only to the requirements for registration of a mark, and

   Section 32(1) more broadly applies to infringement claims); see also Network

   Automation, Inc. v. Adv. Sys. Concepts, Inc., 638 F.3d 1137, 1144-45 (9th Cir.

   2011) (citing, with approval, Professor McCarthy’s characterization that the “more

   restrictive view of ‘use’” is “an erroneous interpretation of the Lanham Act”).

   Accordingly, when considering whether a party has used a mark in commerce in a

   way that could give rise to claims for direct infringement, courts should apply the

   more expansive definition of “use in commerce” from Section 32(1) of the Lanham

   Act.


          B.    Other courts have held that activities beyond the sale of allegedly
                infringing goods are sufficient to establish “use in commerce.”
          In keeping with this broader view of “use in commerce” pursuant to Section

   32(1), courts have held that an array of actions – not just the sale of products – can

   constitute “use in commerce” for the purpose of establishing direct liability. For

   example, courts have found that the use of a mark on a webpage or in a metatag




                                           10


                                                                                       Ex. 3
                                                                                    Page 158
Case 2:19-cv-04618-RGK-JPR Document 45-5 Filed 05/11/20 Page 18 of 36 Page ID
                                 #:4129
               Case: 19-3388      Document: 25     Filed: 09/05/2019    Page: 17



  drawing consumers to a webpage can constitute use in commerce. Transamerica

  Corp. v. Moniker Online Servs., LLC, 672 F. Supp. 2d 1353, 1362 (S.D. Fla. 2009)

  (noting that “the use of a trademark to draw consumers to a particular website not

  belonging to the trademark holder constitutes use in commerce under the Lanham

  Act”); N. Amer. Med. Corp. v. Axiom Worldwide, Inc., 522 F.3d 1211 (11th Cir.

  2008) (finding that the “use in commerce” prong of an infringement claim was

  satisfied because even though consumers did not see the trademark, it still helped

  to draw customers to the website); In re Sones, 590 F.3d 1282, 1288 (Fed. Cir.

  2009) (explaining that use on a webpage from which consumers can order goods

  could support use for the purpose of establishing rights in a trademark – a more

  difficult type of use to establish than use for the purpose of direct liability).

  Similarly, courts have found that the recommendation and sale of keyword

  advertising can constitute use in commerce. Rescuecom Corp., 562 F.3d at 123

  (holding that Google’s recommendation and sale of trademarks as search terms in

  its AdWords program and Keyword Suggestion Tool constituted “use in

  commerce” under the Lanham Act); Network Automation, Inc., 638 F.3d at 1144-

  45 (similarly holding that use of a trademark as a search engine keyword

  constituted use in commerce).


        Relatedly, courts also have found that use of a trademark in connection with

  the advertising or display of goods for sale can constitute use in commerce. See,



                                          11


                                                                                         Ex. 3
                                                                                      Page 159
Case 2:19-cv-04618-RGK-JPR Document 45-5 Filed 05/11/20 Page 19 of 36 Page ID
                                 #:4130
               Case: 19-3388     Document: 25     Filed: 09/05/2019    Page: 18



  e.g., GMA Accessories, Inc. v. BOP, LLC, 765 F. Supp. 2d 457, 463 (S.D.N.Y.

  2011) (explaining that “[a] mark is ‘deemed to be in use in commerce’ when ‘it is

  placed in any manner on the goods or their containers or the displays associated

  therewith or on the tags or labels affixed thereto, or if the nature of the goods

  makes such placement impracticable, then on documents associated with the goods

  or their sale,’ and the goods are transported or sold in commerce. . . . This

  definition applies to claims under Section 32 of the Lanham Act…”) (emphasis

  added) (internal citations omitted). Additionally, courts have noted that parties

  who manufacture or produce goods bearing an infringing mark can be held liable

  for direct infringement. See, e.g., Lorillard Tobacco Co., 453 F.3d at 377

  (imposing direct liability on the seller of counterfeit cigarettes and noting that

  creating, manufacturing, or packaging products can constitute use).


        Leading trademark scholars have adopted a similarly broad view of “use in

  commerce” for the purpose of establishing direct liability. For example, according

  to Professor McCarthy,


        [t]he Lanham Act imposes liability for infringement of a registered
        mark upon any person who uses an infringing mark in interstate
        commerce in connection with the sale or advertising of goods or
        services. This broad definition includes any manufacturer, supplier,
        dealer, printer, publisher or broadcaster who in fact has used the
        infringing mark in connection with the “sale, offering for sale,
        distribution or advertising of any goods or services,” when such use is
        likely to cause confusion.



                                         12


                                                                                     Ex. 3
                                                                                  Page 160
Case 2:19-cv-04618-RGK-JPR Document 45-5 Filed 05/11/20 Page 20 of 36 Page ID
                                 #:4131
               Case: 19-3388     Document: 25    Filed: 09/05/2019    Page: 19



  McCarthy, § 25:26. Although it is not clear from these authorities whether

  Redbubble’s conduct constitutes “use in commerce,” these examples illustrate that

  for the purpose of establishing direct liability, courts and leading scholars have

  embraced uses that go well beyond the act of selling goods.


        C.     The district court’s analysis of whether Redbubble “used in
               commerce” the Ohio State Trademarks was erroneously
               restrictive.
        By focusing solely on whether Redbubble was a “seller,” the district court

  adopted an “erroneously restrictive” view of “use in commerce” under Section

  32(1). Network Automation, Inc., 638 F.3d at 1145 (citing Professor McCarthy for

  the proposition that “cases taking a more restrictive view of ‘use’ in this context

  are based on an erroneous interpretation of the Lanham Act”) (internal citation

  omitted). The district court specifically noted that “whether Redbubble is a

  ‘seller,’ [was] an essential question that [the] Court must answer prior to making a

  finding on Redbubble’s liability” and focused its analysis on whether Redbubble

  acted as a “seller” of goods bearing the Ohio State Trademarks. Ohio State Univ.

  v. Redbubble, No. 2:17-CV-01092, p. 11 (S.D. Ohio Mar. 29, 2019). Although the

  question of whether Redbubble is a “seller” of the goods at issue is an informative

  component of a Section 32(1) “use in commerce” analysis, it should not be the

  only component of that analysis. The district court erred by failing to consider

  additional factors that might constitute “use in commerce,” such as whether



                                        13


                                                                                    Ex. 3
                                                                                 Page 161
Case 2:19-cv-04618-RGK-JPR Document 45-5 Filed 05/11/20 Page 21 of 36 Page ID
                                 #:4132
               Case: 19-3388     Document: 25     Filed: 09/05/2019   Page: 20



  Redbubble engaged in the distribution or advertising of goods bearing the Ohio

  State Trademarks, or whether Redbubble applied the Ohio State Trademarks to

  advertisements used in commerce. The district court also should have considered

  whether Redbubble’s role in selecting the items that are sold through its website

  (e.g., apparel, stickers, device cases, wall art, home décor, accessories, and

  stationery; see generally, REDBUBBLE, INC. (Aug. 31, 2019),

  https://www.redbubble.com), arranging for the manufacture of items, arranging for

  the shipping of those items, having those items shipped in Redbubble packaging

  with Redbubble hangtags, managing the payment process, and managing any

  returns or complaints are activities that are sufficient to establish that Redbubble

  used the Ohio State Trademarks in commerce.


        One reason that this Court should reject the approach adopted by the district

  court is that the lower court’s decision would create a roadmap for parties to evade

  direct liability for trademark infringement without fully accounting for the full text

  of Section 32(1) and the intent of the Lanham Act. Although Redbubble may not

  be a bad actor and may be acting in good faith (issues on which INTA takes no

  position and that likely would need to be explored through discovery), the district

  court’s decision would allow willful infringers and counterfeiters to immunize

  their misconduct so long as they carefully structure their business arrangements to

  technically avoid acting as a “seller,” such as by purporting to contract with other



                                         14


                                                                                      Ex. 3
                                                                                   Page 162
Case 2:19-cv-04618-RGK-JPR Document 45-5 Filed 05/11/20 Page 22 of 36 Page ID
                                 #:4133
               Case: 19-3388    Document: 25     Filed: 09/05/2019    Page: 21



  parties for the provision of the designs, manufacturing, and other activities related

  to the production and sale of products. Such a loophole, if endorsed by this Court,

  would render entire portions of Section 32(1) meaningless, would contravene the

  “Lanham Act’s intent to make actionable the deceptive and misleading use of

  marks in commerce,” Rescuecom Corp., 562 F.3d at 138, and would leave room

  for the type of “over-engineered” avoidance of liability that other courts have

  criticized. Cf. WNET, Thirteen v. Aereo, 712 F.3d 676, 697 (2d Cir. 2013) (Chen,

  J., dissenting) (noting that Aereo’s use of mini-antennas to capture broadcasts and

  stream them to consumers is a “sham,” a “Rube Goldberg-like contrivance, over-

  engineered in an attempt to avoid the reach of the Copyright Act and to take

  advantage of a perceived loophole in the law”), majority opinion rev’d, 573 U.S.

  431 (2014).4 Accordingly, INTA urges this Court to adopt a broader view of “use

  in commerce,” pursuant to Section 32(1), rather than cabin its analysis to whether

  Redbubble acted as a “seller.”


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      Notably, clarity with respect to the types of conduct that can lead to direct
      liability for trademark infringement would be beneficial. However, any sort of
      roadmap that outlines how to avoid violations of the Lanham Act that can lead
      to direct liability should account for the full text of Section 32(1), which
      includes as examples of “use in commerce,” “the sale, offering for sale,
      distribution, or advertising of any goods or services…” as well as the
      application of “reproduction[s], counterfeit[s], cop[ies], or colorable
      imitation[s] [of trademarks] to labels, signs, prints, packages, wrappers,
      receptacles or advertisements intended to be used in commerce. . . .” 15 U.S.C.
      § 1114 (1) (a)-(b).



                                        15


                                                                                    Ex. 3
                                                                                 Page 163
Case 2:19-cv-04618-RGK-JPR Document 45-5 Filed 05/11/20 Page 23 of 36 Page ID
                                 #:4134
               Case: 19-3388    Document: 25     Filed: 09/05/2019   Page: 22



  II.   The district court erred as a matter of law by granting summary
        judgment on an incomplete factual record.
        In addition to improperly analyzing whether Redbubble used the Ohio State

  Trademarks in commerce, the district court erred by granting summary judgment

  on an incomplete factual record.


        As this Court knows well, summary judgement is appropriate only “if the

  movant shows that there is no genuine issue of material fact and the movant is

  entitled to judgment as a matter of law.” Fed. R. Civ. P. 56. Here, although both

  parties moved for summary judgment before engaging in any fact discovery, it

  remains the district court’s obligation to assess whether key material facts are

  missing from the record such that summary judgment is inappropriate to either

  party. Ins. Co. of N. Am., 494 F.2d at 1195-96 (highlighting the trial court’s

  determination that “the stipulated facts [were] too meager for a proper resolution of

  the issues presented,” and agreeing with that finding, explaining that “the facts of

  the stipulation were largely bare-bones and that the additional proof… added flesh

  and life to them, and in doing so presented an understandable controversy to which

  the judge could apply the law and his appropriate judicial fact-finding function in a

  bench trial.”); Lyons v. Bilco Co., No. 3:01-CV-1106, 2003 WL 22682333, at * 1

  & fn. 1 (D. Conn. Sept. 30, 2003) (explaining that “[j]udicial discretion to deny

  summary judgment in favor of a full trial has been approved by most courts of




                                        16


                                                                                      Ex. 3
                                                                                   Page 164
Case 2:19-cv-04618-RGK-JPR Document 45-5 Filed 05/11/20 Page 24 of 36 Page ID
                                 #:4135
               Case: 19-3388     Document: 25     Filed: 09/05/2019   Page: 23



  appeals,” denying cross-motions for summary judgment on “intensely factual

  matters,” and citing to Kennedy v. Silas Mason Co., 334 U.S. 249 (1948) to show

  that the Supreme Court has “recognized that summary judgment may not be the

  most appropriate way to resolve complex matters, even if the motion for summary

  judgment technically satisfies the requirements of Rule 56.”); Propps v. 9008 Grp.,

  Inc., No. 03-71166, 2006 WL 2124242, at *1 (E.D. Mich. July 27, 2006)

  (explaining that, even if the movants carry their burden, “the [c]ourt has discretion

  to deny the motion [for summary judgment].”).


        A.     The factual record was incomplete as it lacked sufficient detail
               material to the district court’s determination of whether
               Redbubble acted as a “seller.”
        Although the district court’s analysis of whether Redbubble acted as a

  “seller” was erroneously restrictive, it is still informative. The sale of goods is one

  type of activity that can constitute a “use in commerce” for the purpose of

  establishing direct liability for trademark infringement. See, e.g., Lorillard

  Tobacco Co., 453 F.3d at 377.


        In deciding whether Redbubble acted as a “seller” and could be liable for

  direct infringement, the district court explained:


        The caselaw sets up a spectrum against which to measure Redbubble’s
        conduct. At one end are companies that function like auction houses
        and are not liable for direct infringement. At the other end are
        companies like CafePress and SunFrog that themselves manufacture


                                         17


                                                                                      Ex. 3
                                                                                   Page 165
Case 2:19-cv-04618-RGK-JPR Document 45-5 Filed 05/11/20 Page 25 of 36 Page ID
                                 #:4136
               Case: 19-3388    Document: 25     Filed: 09/05/2019   Page: 24



        and ship infringing products [bearing artwork provided by
        independent artists] to the customer [which is sufficient to support
        liability for direct infringement].

  Ohio State Univ., No. 2:17-CV-01092, at p. 10. Facts illuminating where upon this

  spectrum Redbubble falls are material, as they could impact a court’s analysis as to

  whether Redbubble acted as a seller and, therefore, “might affect the outcome of

  the lawsuit under the governing substantive law.” Wiley v. U.S., 20 F.3d 222, 224

  (6th Cir. 1994) (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)).


        For example, facts regarding the precise nature of Redbubble’s contractual

  relationships with third-party manufacturers and shippers are material to the

  determination of whether Redbubble is more akin to a print-on-demand service like

  CafePress, which actively creates merchandise itself, or an auction house like eBay

  or Amazon which plays no role in the production of merchandise. For instance, in

  Born to Rock Design Inc. v. CafePress.com, Inc., in finding that CafePress was

  directly liable for trademark infringement of the Born to Rock trademark, the court

  highlighted CafePress’s involvement in the manufacturing process. The court

  explained that “it is undisputed that [CafePress] imprints the designs on

  merchandise and ships that merchandise to customers. . . . That activity constitutes

  ‘use in commerce.’” Born to Rock Design Inc., 2012 WL 3954518 at *1.

  Additionally, in H-D U.S.A., LLC v. SunFrog, LLC, the court imposed direct

  liability for trademark infringement on a defendant print-on-demand service that



                                        18


                                                                                     Ex. 3
                                                                                  Page 166
Case 2:19-cv-04618-RGK-JPR Document 45-5 Filed 05/11/20 Page 26 of 36 Page ID
                                 #:4137
               Case: 19-3388     Document: 25      Filed: 09/05/2019   Page: 25



  did its own printing of allegedly infringing designs on products for sale on its

  website. H-D U.S.A., LLC, 311 F. Supp. 3d 1000,1029-30 (E.D. Wis. Apr. 12,

  2018) (noting the defendant’s production of the products at issue and

  demonstrating a willingness to look at the realities of the arrangement by calling

  out that the “[defendant] hid[ ] behind the ‘user-generated’ nature of its products

  [and] the automation of its printers”). Accordingly, the more control Redbubble

  exercises over and the more involved Redbubble is in the manufacturing process,

  the more Redbubble begins to shift toward the print-on-demand-business end of

  the district court’s spectrum. These are issues of fact that are ill-suited to

  resolution on summary judgment.


        To be fair, Redbubble claims that third-party manufacturers “imprint[ ] the

  seller’s design onto the product chosen by the customer” and “print and pack the

  products before third-party shippers pick up the products and deliver them to

  customers.” (Deshais Decl., ECF Doc. No. 25, ¶¶ 3-4 [hereinafter Deshais Decl.]).

  The record below is devoid, however, of detail as to the nature of the contractual

  arrangements with third-party manufacturers and the precise degree to which

  Redbubble is involved in this process. It is possible, for example, that Redbubble

  is so intimately involved in the selection of the items to be manufactured and the

  process of arranging for manufacture that a court should treat Redbubble as using

  the mark in commerce for the purposes of establishing direct liability. Without



                                         19


                                                                                      Ex. 3
                                                                                   Page 167
Case 2:19-cv-04618-RGK-JPR Document 45-5 Filed 05/11/20 Page 27 of 36 Page ID
                                 #:4138
               Case: 19-3388     Document: 25       Filed: 09/05/2019   Page: 26



  access to the actual contracts with third-party manufacturers and without a more

  meaningful understanding of Redbubble’s involvement in the manufacturing

  process, on the record presented in this appeal, it is not possible for the court

  adequately to understand on whose behalf manufacturing was performed. Further,

  additional evidence regarding the precise nature of Redbubble’s role in arranging

  for manufacturing and whether the individual artists play any role in the selection

  of the manufacturers, the selection of the types of goods offered for sale, and the

  specifications for production would aid the ultimate finder of fact.


        The factual record also lacks sufficient details as to Redbubble’s

  involvement in the process for returning goods. In assessing “use in commerce” in

  other cases, courts have specifically looked to whether a party held title to

  allegedly infringing goods as an indicator of whether that party acted as a seller

  susceptible to direct infringement liability. See, e.g., Milo & Gaby LLC v.

  Amazon.com, Inc., 693 Fed. App’x 879 (Fed. Cir. 2017) (holding that defendant

  company, which never held title to the allegedly infringing Cozy Companion

  pillow cases, was not liable for direct intellectual property infringement).

  Accordingly, the more Redbubble interacts with and retains control over the goods

  returned to the company, the more a fact finder might find that Redbubble is more

  like a seller on the district court’s spectrum.




                                          20


                                                                                      Ex. 3
                                                                                   Page 168
Case 2:19-cv-04618-RGK-JPR Document 45-5 Filed 05/11/20 Page 28 of 36 Page ID
                                 #:4139
               Case: 19-3388    Document: 25     Filed: 09/05/2019   Page: 27



        The factual record lacks this necessary information on Redbubble’s role in

  the return process and on the extent to which Redbubble has possession over

  returned products. Redbubble has indicated that its address is sometimes listed as

  the return address on shipping labels and that “returns and customer service for

  products sold via Redbubble Marketplace are handled by Redbubble as a service to

  Sellers.” (Defendant’s Memorandum in Opposition to Plaintiff’s Motion for

  Summary Judgment, ECF Doc. No. 23, p. 14 (citing Deshais Decl., ¶ 8)

  [hereinafter Defendant’s Opposition Memorandum]). The exact, material details of

  the process, however, are missing from the record. For example, the extent to

  which Redbubble receives and retains title to returned goods is an important detail

  missing from the factual record. Accordingly, the record could benefit from

  further factual development of the manner in which Redbubble processes and

  engages with returned products.


        Finally, the record lacks sufficient detail on how Redbubble characterizes its

  own services. Although it is not necessarily conclusive to the assessment of

  whether a party has used a mark in commerce, courts have considered the manner

  in which parties describe their own services or hold out their own services to the

  public in making this assessment. See, e.g., GMA Accessories, Inc., 765 F. Supp.

  2d at 463-64 (considering how defendant characterized its showroom services).

  Although Redbubble characterizes itself as an intermediary marketplace (see, e.g.,



                                        21


                                                                                    Ex. 3
                                                                                 Page 169
Case 2:19-cv-04618-RGK-JPR Document 45-5 Filed 05/11/20 Page 29 of 36 Page ID
                                 #:4140
               Case: 19-3388      Document: 25    Filed: 09/05/2019    Page: 28



  Defendant’s Opposition Memorandum, p. 38), the record does not include

  additional detail on how Redbubble advertises its services or describes its services

  in a context other than litigation.


         The development of more information on how Redbubble describes its own

  services could allow a fact finder to perform a more thorough analysis as to

  whether Redbubble acted as a seller and used the Ohio State Trademarks in

  commerce. In considering this issue, a fact finder might find it relevant to consider

  how Redbubble has described its services in its trademark registrations.

  Redbubble has registered its “Redbubble” trademark for use in connection with

  classes including the various products offered for sale on the Redbubble website,

  as well as for use in connection with “online retail services.” See, e.g.,

  REDBUBBLE, Registration No. 4,782,482 (covering, inter alia, electronic cases,

  artworks, luggage, home furnishings, dinnerware, apparel, and online retail store

  services); REDBUBBLE, Registration No. 3,910, 313 (covering, inter alia, art

  works); and REDBUBBLE, Registration No. 5,766,498 (covering, inter alia

  apparel).5 In contrast, eBay, which would be at the opposite end of the spectrum


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      Rule 201(b)(2) of the Federal Rules of Evidence permits federal courts to take
      judicial notice of “a fact that is not subject to reasonable dispute because it …
      can be accurately and readily determined from sources whose accuracy cannot
      be readily questioned.” Fed. R. Evid. 201(b)(2). Courts have determined that
      this rule allows for judicial notice of federal trademark registrations. See, e.g.,
      Reed v. General Mills, Inc., No. C19-0005-JCC, 2019 WL 2475706 (W.D.


                                         22


                                                                                     Ex. 3
                                                                                  Page 170
Case 2:19-cv-04618-RGK-JPR Document 45-5 Filed 05/11/20 Page 30 of 36 Page ID
                                 #:4141
               Case: 19-3388        Document: 25   Filed: 09/05/2019   Page: 29



  from sellers, has registered its “eBay” trademark for use in connection with “online

  trading services, namely, operating online marketplaces for sellers and buyers of

  goods and services.” EBAY, Registration No. 4,408,423. The fact that eBay

  (which courts have found is not using marks for purposes of direct infringement)

  specifically notes that its mark is being used for operating a marketplace through

  which third parties can transact, but that Redbubble claims that its mark is used for

  online retail services and for the sale of specific products such as electronic cases,

  artworks, luggage, home furnishings, dinnerware, apparel, and art works, should be

  taken into account in deciding whether Redbubble is more like the sellers in Born

  to Rock Design Inc. and H-D U.S.A., LLC or more like marketplaces like eBay. At

  this stage of the litigation, the record lacks sufficient detail as to how Redbubble

  holds itself out to the public.


        Finally, it is worth noting that, even if Redbubble were found to be “using”

  the Ohio State Trademarks in commerce, that finding would not result in an

  automatic finding of liability, nor would it dictate what remedies might be

  appropriate if liability were found. Redbubble may have defenses to liability –

  such as possible fair use defenses or defenses that confusion is not likely – and it

  may have defenses against any request for monetary relief (such as a showing that


      Wash. June 13, 2019); Children’s Miracle Network v. Miracles for Kids, Inc.,
      No. 8:18-CV-01227, 2018 WL 8243998 (C.D. Cal. Dec. 6, 2018).



                                          23


                                                                                     Ex. 3
                                                                                  Page 171
Case 2:19-cv-04618-RGK-JPR Document 45-5 Filed 05/11/20 Page 31 of 36 Page ID
                                 #:4142
                Case: 19-3388     Document: 25     Filed: 09/05/2019    Page: 30



   it acted promptly and in good faith to remove infringing items in response to

   notices of infringement). Those, too, are issues that can and should be considered

   by the finder of fact after appropriate discovery.


         B.     The factual record was incomplete as it lacked sufficient detail on
                the degree to which Redbubble advertises or encourages
                advertising of the allegedly infringing products.
         As discussed in Section I supra, courts have held that the Lanham Act

   allows for the imposition of direct liability for trademark infringement premised

   upon uses in commerce other than the sale of allegedly infringing products. For

   example, courts have imposed direct liability where the defendant advertised or

   encouraged others to advertise the sale of infringing designs. See, e.g., H-D

   U.S.A., LLC, 311 F. Supp. 3d at 1029-30 (noting that defendant “advertises

   infringing designs and trains and encourages others to do so”); see also GMA

   Accessories, Inc., 765 F. Supp. 2d at 463. In Defendant’s Opposition

   Memorandum, Redbubble asserts that the “third-party Sellers” advertise their own

   products. Defendant’s Opposition Memorandum, p. 32 (“Redbubble’s platform is

   a ‘global communications network’ that enables third-party Sellers to ‘list’ (i.e.,

   advertise their products for sale”). The factual record lacks sufficient detail to test

   the veracity of this assertion, including detailed information on the degree of

   control Redbubble has over user-uploaded content, how Redbubble itself engages

   in promotions of its services, and whether promotions of Redbubble services ever



                                          24


                                                                                      Ex. 3
                                                                                   Page 172
Case 2:19-cv-04618-RGK-JPR Document 45-5 Filed 05/11/20 Page 32 of 36 Page ID
                                 #:4143
                Case: 19-3388     Document: 25     Filed: 09/05/2019   Page: 31



   involve promotion of particular products sold through the Redbubble website.

   These additional details are key to the fact finder’s analysis of whether Redbubble

   engaged in conduct other than the sale of allegedly infringing goods (such as

   advertising infringing or counterfeit products) that could constitute “use in

   commerce” for the purpose of establishing direct liability.


         At the minimum, Ohio State’s assertions in its complaint and in its summary

   judgment briefing that Redbubble has advertised for sale products that infringe the

   Ohio State Trademarks should be sufficient to avoid dismissal at this stage of the

   proceedings. In both its complaint and summary judgment briefing, Ohio State

   points to display of allegedly infringing products as a potential form of use in

   commerce. (Complaint, ECF Doc. No. 1, ¶ 38; ECF Doc. No. 35, p. 5).

   Additionally, in its summary judgment briefing, Ohio State alleges that Redbubble

   “advertis[es] the counterfeit goods on its site” (Plaintiff’s Reply in Support of

   Plaintiff’s Motion for Summary Judgment, ECF Doc. No. 39, p. 10 [hereinafter

   Plaintiff’s Reply]) and “advertises the infringing goods for sale.” (Plaintiff’s

   Reply, p. 11). At this stage of the litigation, before the parties have conducted fact

   discovery, these assertions should be sufficient to avoid dismissal, as they provide

   Redbubble with notice of the arguments Ohio State intends to make.6 The district


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       “Federal Rule of Civil Procedure 8(a)(2) requires only ‘a short and plain
       statement of the claim showing that the pleader is entitled to relief.’ Specific


                                          25


                                                                                      Ex. 3
                                                                                   Page 173
Case 2:19-cv-04618-RGK-JPR Document 45-5 Filed 05/11/20 Page 33 of 36 Page ID
                                 #:4144
               Case: 19-3388    Document: 25     Filed: 09/05/2019   Page: 32



  court’s conclusions that these allegations are “too conclusory,” Ohio State Univ.,

  No. 2:17-CV-01092 at 12, merely suggests that the record is lacking sufficient

  detail for the court to make an informed decision and that a decision on summary

  judgment was not appropriate. Without the benefit of discovery, it is not clear that

  any additional facts on Redbubble’s advertising policies and practices would

  render Ohio State’s argument any more persuasive than Redbubble’s assertions

  that any infringing marks are uploaded to the Redbubble website by independent

  artists. The district court should, however, consider a complete record that

  provides sufficient detail on Redbubble’s advertising practices for the court to

  make an informed decision.


                                    CONCLUSION

        The district court judgment should be vacated and remanded because of the

  court’s erroneous limitation of the “use in commerce” analysis to an inquiry into

  whether Redbubble acted as a “seller.” Additionally, the parties should be given

  the opportunity to engage in discovery and to build the factual record so that the

  ultimate trier of fact will have a more complete factual record from which it can

  decide whether to hold Redbubble directly liable for trademark infringement.


      facts are not necessary; the statement need only ‘give the defendant fair notice
      for what the . . . claim is and the grounds upon which it rests.’” Bell Atlantic
      Corp. v. Twombly, 550 U.S. 544, 555 (2007) (quoting Conley v. Gibson, 355
      U.S. 41 (1957)).



                                        26


                                                                                    Ex. 3
                                                                                 Page 174
Case 2:19-cv-04618-RGK-JPR Document 45-5 Filed 05/11/20 Page 34 of 36 Page ID
                                 #:4145
           Case: 19-3388   Document: 25   Filed: 09/05/2019   Page: 33




      Dated: September 5, 2019

                                  Respectfully submitted,

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                                 27


                                                                            Ex. 3
                                                                         Page 175
Case 2:19-cv-04618-RGK-JPR Document 45-5 Filed 05/11/20 Page 35 of 36 Page ID
                                 #:4146
             Case: 19-3388    Document: 25    Filed: 09/05/2019   Page: 34




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 Dated: September 5, 2019




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                                                                                Ex. 3
                                                                             Page 176
Case 2:19-cv-04618-RGK-JPR Document 45-5 Filed 05/11/20 Page 36 of 36 Page ID
                                 #:4147
              Case: 19-3388     Document: 25    Filed: 09/05/2019   Page: 35




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        The undersigned hereby certifies that on September 5, 2019, an electronic

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                                                                                  Ex. 3
                                                                               Page 177
